
MARKMAN, J.
(concurring in part and dissenting). Because I would not alter the longstanding status quo in our state concerning the competing rights of the public and lakefront property owners, I respectfully dissent. In concluding that the “public trust doctrine” permits members of the public to use unsubmerged lakefront property up to the “ordinary high water mark,” the majority creates new legal rules in Michigan out of whole cloth by adopting Wisconsin law in piecemeal fashion and discarding Michigan rules that have defined the relationship between the public and lakefront property owners for virtually the entirety of our state’s history.1 Equally troubling, the majority replaces clear and well-understood rules — rules that have produced reasonable harmony over the. decades in *710Michigan— with obscure rules. One of the few things that is clear about the majority’s opinion is that it will lead inevitably to more litigation— more litigation in an area of the law that, mercifully, has been largely free from such litigation for the past century and a half in our state. In the place of the reasonable harmony that has developed between the public and littoral property owners, there will be litigation. In the place of open beaches, there almost certainly will be a proliferation of fences erected by property owners determined to protect their now uncertain rights.2 In the place of rules that have both upheld the property rights of lakefront landowners and provided an environment in which reasonable public use of lakefront property, including beach-walking, could routinely take place, the majority introduces new rules that will create tensions between the public and lakefront property owners. In the place of a boundary that can be determined by simple observation, the majority’s new rules would require property owners and the public to bring “aerial photographs,” a “government survey map[]” and “stereo [three-dimensional] photographs,” ante at 692 n 20, in order to determine where their rights begin and end. In the place of rules in which property rights have been clearly defined by law, the majority expands the “public trust” *711in an uncertain fashion, in accordance with rules and regulations to be issued at some future time by the administrative agencies of state government. In the place of the clear rule of law in which property rights have been respected in a consistent fashion for more than a century and a half, there will be political dispute and negotiation.
This is the first such dispute to come before this Court in our history. Rather than recognizing the harmony that has been produced by the present rules in the course of the millions of interactions that occur each year between the public and property owners along the Great Lakes, the majority instead creates new rules on the basis of an isolated and aberrational dispute between the present parties.
The majority departs from the longstanding status quo in our state, despite the following: (1) there is no realm of the law in which there is a greater need to maintain stability and continuity than with regard to property rights; (2) the parties in this case have all asserted that they favor a maintenance of the status quo;3 (3) there is no evidence that the status quo has not *712reasonably balanced the interests of property owners and the public in Michigan for more than a century and a half; and (4) there is no evidence that the present dispute is anything other than an isolated and aberrational dispute, not one upon which to predicate the reversal of a century-and-a-half-old conception of private property rights.
This Court has recognized the importance of maintaining the security of private property by “declaring] that stare decisis is to be strictly observed where past decisions establish ‘rules of property’ that induce extensive reliance.” Bott v Natural Resources Comm, 415 Mich 45, 77-78; 327 NW2d 838 (1982). In Bott, we noted that “[¡Judicial ‘rules of property’ create value, and the passage of time induces a belief in their stability that generates commitments of human energy and capital.” Id. at 78. Therefore, such rules should be closely respected and overturned only for “the very best of reasons.” See, e.g., Dolby v State Hwy Comm’r, 283 Mich 609, 615; 278 NW 694 (1938); Lewis v Sheldon, 103 Mich 102, 103; 61 NW 269 (1894).
The public’s right to use property abutting the Great Lakes under the public trust doctrine has traditionally been limited to “submerged lands,” i.e., those lands covered by the Great Lakes, including their wet sands. The “water’s edge” is that point at which wet sands give way to dry sands, thus marking the limit of the public’s rights under the public trust doctrine. This has been *713the rule in our state since this Court’s decision in Hilt v Weber, 252 Mich 198; 233 NW 159 (1930), a case that for seventy-five years has defined the limits of the public’s rights of use of littoral property.4 Indeed, except for the seven-year period immediately preceding Hilt, this water’s edge principle is consistent with Michigan case law dating back over 160 years and probably even earlier. Lakefront property owners, including businesses,5 have invested in reliance on present rules concerning the relationship between the public and lakefront property owners. This reliance on longstanding rules should have given the majority considerable pause before it altered the status quo and redefined the public trust doctrine.
This is not the first time this Court has upset settled rules of property on the Great Lakes, but the lessons of the first time do not seem to have been well-learned by the majority. Before the 1920s, property owners be*714lieved that their title extended to the water’s edge. Steinberg, God’s terminus: Boundaries, nature, and property on the Michigan shore, 37 Am J Legal Hist 65, 72 (1993). However, in the Kavanaugh cases,6 this Court abruptly overruled eighty years of then-existing case law and held that a littoral owner’s title extended only to the “meander line,” a survey line used by the federal government to determine the amount of property available for sale in the Michigan Territory.7 While this Court recognized at the time that this decision was “against the overwhelming weight of authority,”8 unlike the majority’s decision today, it was at least arguably grounded in dictum from a prior Michigan decision.9 Nevertheless, by deviating from an established rule of property rights in favor of establishing a boundary at an imaginary line that property owners could not easily identify, the Kavanaugh cases threw Michigan’s lake-shores into disarray. For example, renters of property between the meander line and the water’s edge withheld their rent and in fact were advised to do so by the director of the Department of Conservation. Id. at 77-78. Further, littoral owners found that third parties were building on property between the meander line and the water’s edge, thus effectively blocking their access to the lake. Other littoral owners were forced to hire surveyors in order to determine with any certainty what property they actually owned. The chaos caused *715by the departure from the traditional rule in the Kavanaugh cases was so dramatic that just seven years later this Court corrected its error and reestablished the rules of property as they had existed on the Great Lakes for at least the prior eighty years. Hilt, supra at 227.
The majority today revamps the public trust doctrine on the basis of Wisconsin law— or at least on the portions of it that the majority finds to their liking— and, in so doing, announces new rules of law regarding lands subject to the public trust doctrine. Because I believe that the public’s rights under the doctrine have always been limited to the use of submerged lands, which includes the wet sands, I do not believe that the Court of Appeals erred in holding that the public may not walk on unsubmerged lands. However, I do believe the Court of Appeals erred in holding that the state’s title begins at the “ordinary high water mark.” Therefore, I would affirm in part and reverse in part the decision of the Court of Appeals and remand to the trial court to apply the principles set forth in this opinion.
I. MISUNDERSTANDING THE “ORDINARY HIGH WATER MARK”
The majority concludes that the “ordinary high water mark” is the landward boundary of the public trust doctrine.10 While the majority does not necessarily disagree that the water’s edge serves as the boundary of *716the littoral owner’s title, it would expand the public’s legal right to use property up to the utterly indiscernible “ ‘point on the bank or shore up to which the presence and action of the water is so continuous as to leave a distinct mark either by erosion, destruction of terrestrial vegetation, or other easily recognized characteristic.’ ” Ante at 691 (citation omitted). The majority further adds that this newly described “ordinary high water mark,” one never before seen in Michigan, includes unsubmerged lands that are the product of “fluctuation” in the level of the lake that “results in temporary exposure of land that may then remain exposed above where water currently lies.” Id. I disagree. The majority replaces a workable and easily identifiable boundary with one whose exact location is anyone’s guess and it has done so on the basis of the Wisconsin public trust doctrine, or at least that part of Wisconsin’s doctrine that supports the majority’s new rule.11 Instead, I believe that the public’s entitlement to use property under the public trust doctrine of Michigan is limited to submerged lands, i.e., the Great Lakes and their wet sands.
*717The majority’s creation of this new rule is rooted in its misunderstanding of the importance of the “ordinary high water mark” for the purpose of defining the boundary of the public trust on the nontidal Great Lakes. The public trust doctrine in the United States is derived from the English common law, which extended to tidal land below the ordinary high water mark. Borax Consolidated, Ltd v Los Angeles, 296 US 10, 23; 56 S Ct 23; 80 L Ed 9 (1935). The rights protected by the English common law included use of tidal lands up to the ordinary high water mark for “navigation and commerce... and for the purposes of fishing....” Shively v Bowlby, 152 US 1, 11; 14 S Ct 548; 38 L Ed 331 (1894).
Following the American Revolution, the title held for the public trust by the King passed to the states, subject only to those rights surrendered by the states to the federal government. Id. at 14-15. While each state is required to protect the uses permitted by the public trust doctrine, Illinois Central R Co v Illinois, 146 US 387, 453; 13 S Ct 110; 36 L Ed 1018 (1892) (Illinois Central I), the scope of property subject to that trust is governed by “the local laws of the several States . .. .”12 Shively, supra at 40. Thus, it cannot be said that the *718American public trust doctrine uniformly extends to the “ordinary high water mark.” Id. While a majority of the original thirteen colonies followed the English common-law rule, Shively noted that four of the original colonies held that the littoral owner holds title to the “low water mark,” subject only to the public’s right to use the water for navigation and fishing when it is above that point. Id. at 18-25.13 For example, in Commonwealth v Alger, 61 Mass 53, 70 (1851), the Supreme Court of Massachusetts held, under the “local laws” of that state,14 a littoral owner’s title extends to the low water mark. However, the littoral owner’s title is limited because “whilst [lands above the low water mark] are covered with the sea, all other persons have the right to use them for the ordinary purposes of navigation.” Id. at 74-75. In other words, the public’s rights under the public trust doctrine are limited to the use of property that is currently submerged. Thus, the public trust doctrine as defined in the “low water mark” colonies restricts the public’s right of use to either land below *719the low water mark or to such land as is currently covered by the waters of the ocean.15
Likewise, the “local laws” of Michigan did not adopt the English definition of public trust lands, but rather restricted the public’s rights under the public trust doctrine to the use of submerged lands. In La Plaisance Bay Harbor Co v Monroe City Council, Walker Chancery Rep 155 (1843), the issue of public ownership of the Great Lakes was addressed for the first time by a Michigan court. In La Plaisance, the Court of Chancery addressed the state’s right to improve navigation in Lake Erie. The Legislature had authorized the city of Monroe to build a canal connecting the River Raisin to the lake. The harbor company brought suit to enjoin the project, claiming that the canal would divert so much water from the river that its downriver warehouses would be rendered inaccessible by boat. However, the court held that the harbor company did not have a right to the flow of water in the river in its natural bed because “[t]he public owns the bed of this class of rivers, and is not limited in its right to an easement, or right of way only.” Id. at 168. The court also noted that “with regard to our large lakes, or such parts of them as he within the limits of the state[,] [t]he proprietor of the adjacent shore has no property whatever in the land covered by the water of the lake” Id. (emphasis added). Moreover, it should be noted that before La Plaisance, and before statehood, Michigan was part of the Northwest Territory, which was ceded to the United States by Virginia in 1784. Under Virginia law, a littoral owner held title to soil in tidewaters to the low water mark. Shively, supra at 24-25.
*720The understanding that the public’s interest under the public trust doctrine is limited to the submerged lands of the Great Lakes was also expressed by Justice CHAMPLIN in his concurring opinion in Lincoln v Davis, 53 Mich 375; 19 NW 103 (1884). In Lincoln, a fisherman had placed stakes in Thunder Bay, off an island, in order to set some fishing nets. The island’s owner removed the stakes, claiming that he had the exclusive right to fish in the waters off his island. The Lincoln majority, while not discussing the boundary between littoral property and public trust property, held that the owner had no right to interfere with the fisherman’s stakes. Justice CHAMPLIN noted that “when [Michigan] was admitted into the Union this political jurisdiction devolved upon the State, and the title to the soil under the navigable waters of the Great Lakes became vested in the State as sovereign to the same extent and for the same reasons that the title of the bed of the sea was vested in the king.” Id. at 384 (emphasis added). However, the state’s title only extends to the “low-water mark.” Id. at 384-385 (emphasis added). In fact, according to Justice CHAMPLIN, “The paramount rights of the public to be preserved are those of navigation and fishing, and this is best accomplished by limiting the grants of lands bordering on the Great Lakes to [the] low-water mark.” Id. at 385-386.
The United States Supreme Court defined the scope of the public trust doctrine as applied to the submerged lands of the Great Lakes in Illinois Central I, supra at 437. In Illinois Central I, the Illinois legislature had granted the railroad title to one thousand acres of submerged land on Lake Michigan. Four years later, the Illinois legislature repealed this act and sought to quiet title to submerged lands. The Supreme Court held that “the State holds the title to the lands under the navigable waters of Lake Michigan . . . and that title neces*721sarily carries with it control over the waters above them whenever the lands are subjected to use.” Id. at 452 (emphasis added). Because the state’s public-trust title is a function of its sovereignty, the lands covered by the doctrine cannot be alienated, except when such alienation promotes the public use of them and the public use of the lands and waters remaining is not harmed. Id. at 452-453.
Just four years later, in People v Silberwood, 110 Mich 103, 107; 67 NW 1087 (1896), this Court seized upon the Illinois Central I explanation of the public trust doctrine to support its holding that the boundary between public trust lands and littoral lands is the low water mark. In Silberwood, the defendant was convicted of cutting submarine vegetation on Lake Erie. The defendant claimed that the owners of land lying adjacent to Lake Erie, including his employer who ordered removal of the vegetation, owned the land to the center of that Great Lake, subject to the rights of navigation. The Court, quoting La Plaisance, held that a littoral owner does not have any title in land covered by the Great Lakes. Id. at 106. The Court then noted that the Illinois Central I decision
is in harmony with the doctrine laid down in the early case of La Plaisance Bay Harbor Co. v. Council of City of Monroe, which I do not think has ever been overruled in this State so far as it affects the right's of shore owners on the borders of the Great Lakes. This doctrine, too, is in harmony with the decisions in all of the States bordering on these great seas. [Id. at 108-109.]
Further, the Court noted that decisions of other Great Lakes states were in line with both La Plaisance and Illinois Central I:
The decisions in New York (Champlain, etc., R. Co. v. Valentine, 19 Barb. 484 [NY Sup (1853)]), in Pennsylvania *722(Fulmer v. Williams, 122 Pa. St. 191 [15 A 726 (1888)]), and in Ohio (Sloan v. Biemiller, 34 Ohio St. 492 [1878]), all hold that the fee of the [littoral] owner ceases at the low-water mark. [Id. at 107.]
This Court reaffirmed the principle that the public trust doctrine applies only to submerged lands in People v Warner, 116 Mich 228; 74 NW 705 (1898). At issue in Warner was ownership of a marshy island that was previously submerged under Saginaw Bay. The defendant claimed ownership of the marshy island as an accretion to his adjacent island. In placing the boundary at the water’s edge, the Court stated:
The depth of water upon submerged land is not important in determining the ownership. If the absence of tides upon the Lakes, or their trifling effect if they can be said to exist, practically makes high and low water mark identical for the purpose of determining boundaries (a point we do not pass upon), the limit of private ownership is thereby marked. The adjoining proprietor’s fee stops there, and there that of the State begins, whether the water be deep or shallow, and although it be grown up to aquatic plants, and although it be unfit for navigation. The right of navigation is not the only interest that the public, as contradistinguished from the State, has in these waters. It has also the right to pursue and take ñsh and wild fowl, which abound in such places; and the act cited has attempted to extend this right over the lands belonging to the State adjoining that portion of the water known to be adapted to their sustenance and increase. [Id. at 239 (emphasis added).][16]
*723The Court found that a connection between the marshy island and the defendant’s island, which existed during times of low water, raised an issue of material fact. If the connection was evidence that land washed up against the defendant’s island and that eventually caused the marshy island to rise from the water, then the defendant held title to such land by accretion. However, if the island arose from the water first and only then began to extend towards the defendant’s island, then title belonged to the state. In any case, the Court held that summary disposition was inappropriate and remanded the case for a new trial.
One of the most thorough opinions addressing the public trust doctrine was Justice Hooker’s concurring opinion in State v Lake St Clair Fishing &amp; Shooting Club, 127 Mich 580; 87 NW 117 (1901).17 Justice HOOKER began his analysis by noting that the “title that Michigan took when it was admitted to the Union in 1836 is not limited to water sufficiently deep to float craft, but extends to the point where it joins the ground of the [littoral] owner, ‘whether the water be deep or shallow, and although it be grown up to aquatic plants *724and unfit for navigation.’ ” Id. at 586, quoting Warner, supra at 239. Likewise, the title of the abutting littoral owner extends to the shoreline. Fishing &amp; Shooting Club, supra at 587. Thus, “when the water in the lakes stands at low-water mark, .. . the title [is] in the State, and all land between low-water mark and the meander line belongs to the abutting proprietor . ...” Id. at 590 (emphasis added).
The common-law limitation of the scope of the public trust doctrine was reaffirmed by this Court in Hilt. In overruling the short-lived Kavanaugh cases, we held that “the purchaser from the government of public land on the Great Lakes took title to the water’s edge.” Hilt, supra at 206. We also noted that the waters of our Great Lakes commonly change the landscape surrounding them, by erosion or deposits made by the water, in a gradual and imperceptible manner. Id. at 219. In order to account for this constant change, the title of a littóral owner “follows the shore line under what has been graphically called ‘a movable freehold.’ ” Id. (citation omitted). The title to land above the water’s edge is “ ‘independent of the law governing the title in the soil covered by the water.’ ” Id., quoting Shively, supra at 35.18
To summarize, under the common law as it has developed in Michigan, when the water is at a low point, the state holds title to the submerged land, including the wet sands, while title to unsubmerged land is in the littoral owner. Warner, supra; Fishing &amp; Shooting Club, supra. As the water level rises, the public gains the right to use the entire surface of the lake up to the *725water’s edge — the point at which wet sands give way to dry sands — for public trust purposes. Hilt, supra-, Warner, supra. Likewise, the littoral owner’s title follows the rise and fall of the waters.19 Id. Accordingly, the boundary of the littoral owner’s title is the most landward of either the “low water mark” or the current location of the water itself.20 The state’s public trust *726title, then, “begins [where the water is], whether the water be deep or shallow . . . Warner, supra at 239.21
In rejecting this understanding, the majority’s opinion virtually ignores 162 years of case law, and instead simply announces that “Michigan’s courts have adopted the ordinary high water mark as the landward boundary of the public trust” doctrine. Ante at 638. Thus, according to the majority, unsubmerged land up to the “high water mark” remains subject to the trust. To support its assertion, the majority cites with approval this Court’s holding in Peterman v Dep’t of Natural Resources, 446 Mich 177, 198-199; 521 NW2d 499 (1994). In doing so, the majority fails to acknowledge that Peterman did not address the public’s right to use property under the public trust doctrine at all,22 but rather addressed the state’s right to improve navigation under the navigational servitude.23 We began our *727analysis in Peterman by affirming that the “ ‘title of the [littoral] owner follows the shore line under what has been graphically called “a moveable freehold.” ’ ” Id. at 192, quoting Hilt, supra at 219. However, we also found that such title is not absolute. Rather, the state retains a navigational servitude on unsubmerged property landward of the water’s edge that may again become submerged during periods of high water.24 In order to accommodate both the rights of the littoral owner and the potential use of unsubmerged land for navigation, we determined that the littoral owner’s title is “a limited title ... that is subject to the power of the state to improve navigation.” Peterman, supra at 195 (emphasis added). That is, the state has the right to regulate this unsubmerged land to ensure that the littoral owner does not interfere with the public’s future right to use the land for navigational purposes when it again becomes covered by the waters of the Great Lakes. Also, the state has the right to take this unsubmerged land or otherwise take action inconsistent with the owner’s littoral rights without giving due compensation to the littoral owner when it is necessary to make navigational improvements or when the taking possesses an “essential nexus” to navigation. Id. at 201. However, just as in Alger, the public may only use the land in question for navigational purposes25 when the land is covered by the waters of the Great Lakes.
*728Because the majority misapprehends the nature of this limited title, it has misconstrued the importance of the “ordinary high water mark” as it is described in Peterman. While recognizing the state’s right to improve navigation, we also sought to limit the property that could be adversely affected by such improvements. To determine the scope of this limitation, we examined former MCL 281.952, which was part of the Inland Lakes and Streams Act, as well as cases defining the scope of the public trust doctrine on rivers, including Grand Rapids Booming Co v Jarvis, 30 Mich 308, 318-321 (1874) (holding that the public right of navigation was confined to the stream itself and that its boundary was the line of ordinary high water), and Hall v Alford, 114 Mich 165, 167-168; 72 NW 137 (1897) (noting that land alongside a river above the high water line could not be taken without just compensation and due process). On the basis of our review of these authorities, we determined that “ ‘the limit of the public’s right is the ordinary high water mark of the river.[26] This means that the ownership of fast land[27] is unqualified and not burdened with [the state’s right to improve navigation].’ ” Peterman, supra at 198 (citation omitted). Applying this rule of rivers to the Great Lakes, we held that destruction of the littoral owner’s *729property above the “ordinary high water mark” was “an unconstitutional taking of property without due process and just compensation.”28 Id. at 200.
Thus, contrary to the claims of the majority, Peter-man did not alter the rule of Warner and Hilt that the public’s right to use property under the public trust doctrine is limited to submerged lands. Rather, the “ordinary high water mark” is simply the outside edge of property that may either be regulated to preserve future navigational interests at times of high water or taken without compensation for navigational improvements. Id. at 202. The majority fails to recognize that this Court’s holding applied only to the “public’s rights” under the navigational servitude. As a result, the majority unwarrantedly expands the scope of our holding in Peterman to create new rights under the public trust doctrine, rights that were never contemplated in that case.
H. MISDEFINITION OF LANDS WITHIN THE PUBLIC TRUST DOCTRINE
Even if the majority were correct in its understanding of the “ordinary high water mark,” which for the *730reasons set forth I do not believe it to be, its definition of lands encompassed by the public trust doctrine is inconsistent with both the common-law scope of the public trust doctrine and the realities of the Great Lakes. The majority does not apply Michigan law, but instead, without analysis or explanation, summarily adopts Wisconsin’s definition of the “ordinary high water mark,” which it derives from a case involving a Wisconsin river. Further, while the majority admits that the “ordinary high water mark” is a term used to define the scope of the public trust doctrine in tidal waters, it fails to account for the fact that the Great Lakes have no true scientific low and high water marks as exist on the seashore. Even given the majority’s attempt to graft this tidal-based term upon the nontidal Great Lakes, its definition bears little resemblance to the common-law standard. In creating a new definition of “ordinary high water mark” based on the portions of the common law of Wisconsin it finds amenable, the majority fails to provide either lakefront property owners or the public with the slightest guidance in understanding the lands in which the new rights granted to the public may be exercised.
The majority defines the “ordinary high water mark” as “ ‘the point on the bank or shore up to which the presence and action of the water is so continuous as to leave a distinct mark either by erosion, destruction of terrestrial vegetation, or other easily recognized characteristic.’ ”29Ante at 691, quoting Diana Shooting Club *731v Husting, 156 Wis 261, 272; 145 NW 816 (1914). This definition is derived from a State of Wisconsin case involving that state’s public trust doctrine as it applies to an inland river. Why this court now finds it necessary to abandon Michigan common law and replace it with Wisconsin’s common law, or at least those portions the majority finds persuasive, is not explained. As the United States Supreme Court noted in Shively, supra at 26, the determination of what lands fall within the scope of the public trust doctrine is different in each state. After reviewing the laws of several states, that Court remarked
that each State has dealt with the lands under the tide waters within its borders according to its own views of justice and policy, reserving its own control over such lands, or granting rights therein to individuals or corporations, whether owners of the adjoining upland or not, as it considered for the best interests of the public. Great caution, therefore, is necessary in applying precedents in one State to cases arising in another. [Id. (emphasis added).]
The majority has failed to pay heed to the United States Supreme Court’s advice in this matter. The majority has also failed to examine the Wisconsin public trust doctrine in order to determine whether the policy reasons underlying the majority’s adoption of the Wisconsin understanding of the “ordinary high water mark” is even compatible with Michigan’s “views of justice and policy ....” Id. Rather than conduct such a review, the majority concludes that this definition is apt *732because it “has served another Great Lakes state for some hundred years and is in accord with the term’s limited development in our own state.” Ante at 693.30
However, even a cursory review of the Wisconsin cases cited by the majority suggests a rule more in line with the decision of our Court of Appeals — a decision unanimously rejected by this Court — than the rule favored by the majority. In Diana Shooting Club, a hunter had floated his boat into an area overgrown by vegetation for the purpose of shooting wild ducks. The riparian owner claimed that, pursuant to its ownership of the soil beneath the river, the members of its organization had the exclusive right to hunt in those waters. The Wisconsin Supreme Court recognized the riparian owner’s title in the soil beneath the river, but also found that the waters themselves “should be free to all for commerce, for travel, for recreation, and also for hunting and fishing, which are now mainly certain forms of recreation.” Diana Shooting Club, supra at 271. It ultimately held that:
Hunting on navigable waters is lawful when it is confined strictly to such waters while they are in a navigable stage, and between the boundaries of ordinary high water marks. When so confined it is immaterial what the character of the stream or water is. It may be deep or shallow, clear or covered with aquatic vegetation. By ordinary highwater mark is meant the point on the bank or shore up to which the presence and action of the water is so continuous as to leave a distinct mark either by erosion, destruction of terrestrial vegetation, or other easily recognized characteristic. [Id. at 272 (emphasis added).]
*733Thus, unlike the majority, Diana Shooting Club restricted public trust activity to the waters themselves. Indeed, the Wisconsin Supreme Court confirmed this interpretation in Doemel v Jantz, 180 Wis 225, 236; 193 NW 393 (1923), noting that:
What was said in the Diana Shooting Club Case on the subject of the rights of a hunter to pursue his game up to the ordinary high-water mark, merely affirmed the public right to pursue the sport of hunting to the ordinary high-water mark of a navigable river while the waters of the river actually extended to such mark.[31]
The Wisconsin Supreme Court later suggested that the Diana Shooting Club’s definition of the ordinary high water mark also applied to the Great Lakes. State v Trudeau, 139 Wis 2d 91; 408 NW2d 337 (1987).32 In Trudeau, a littoral owner along Lake Superior sought to build condominiums within an area below the “ordinary high water mark” of Lake Superior. The littoral owner argued that the area in question was not navigable and, therefore, he was entitled to use the lake bed. The Wisconsin Supreme Court disagreed, reasoning that the state’s interest extended to the “ordinary high water mark” of Lake Superior. Id. at 103. In discussing the *734“ordinary high water mark,” the court cited with approval the definition from Diana Shooting Club. However, the court’s ultimate disposition in that case was to remand “for findings concerning those portions of the site higher than 602 feet [above sea level, according to the International Great Lakes Datum], the [ordinary high water mark] of Lake Superior.” Id. at 110. Thus, Trudeau held that the “ordinary high water mark” is defined by the International Great Lakes Datum (IGLD) level — the very standard that has been unanimously rejected by the justices of this Court.33
To summarize, none of the few Wisconsin cases cited by the majority addresses the issue of whether the public has a right to use currently unsubmerged land below the “ordinary high water mark” for public trust purposes. Indeed, the Wisconsin public trust doctrine specifically limits the public’s use of submerged lands to when those lands are covered by the waters themselves. In addition, to the extent that the majority believes that Trudeau makes the Diana Shooting Club definition applicable to the Great Lakes, the majority fails to note that Trudeau adopted the IGLD definition of the “ordinary high water mark” on the Great Lakes. Trudeau, *735supra at 110. In determining the location of the “ordinary high water mark,” Trudeau specifically relied on the following evidence:
The DNR’s area water management specialist, Richard Knitter, testified that he determined the lake’s OHWM [ordinary high water mark] approximately one-half mile from the site at a protected location with a clear erosion line that was free from excessive wave action. Knitter then determined that this site’s elevation was 602 feet I.G.L.D. He transferred the elevation of the OHWM site to a number of points at the project site and concluded that approximately half of the site was below Lake Superior’s OHWM. The developers’ surveyor did not determine the OHWM of the site or Lake Superior. [Id. at 106-107.]
The court concluded that “[a]ny part of the site at or below 602 feet I.G.L.D. is within the OHWM of Lake Superior and is therefore protected lake-bed upon which building is prohibited.” Id. at 109. The presence of this single, clear definition stands in stark contrast to the vague and ever-changing, “fact-specific,” “ordinary high water mark” newly promulgated by the majority. In contrast to the Wisconsin Supreme Court, this Court expends its energies explaining why our Great Lakes Submerged Lands Act (GLSLA), MCL 324.32501 et seq., which relies upon the IGLD, is not dispositive in defining the landward boundary of the public trust. Ante at 681-685.
In stating that “we are persuaded to adopt [the Diana Shooting Club definition of “ordinary high water mark”] to clarify a term long used but little defined in our jurisprudence,” ante at 692, the majority adopts the law of another state, without much explanation as to why that law has been chosen from among the laws of the fifty states or, even more significantly, why the law of any other state is seen as necessary to replace the long-settled law of Michigan. Further, the majority *736adopts only a part of the law of that other state, again without much explanation as to why it has chosen to adopt only parts of that other state’s law. Finally, to compound this inexplicable process, the majority fails to accord significant consideration to the manner in which the courts of the other state have interpreted its own law, misconstruing in the process even the few decisions to which it gives consideration.
Even absent the differences between Wisconsin and Michigan law, the Diana Shooting Club standard was derived from the very different context of riparian property.34 Undeterred, the majority simply utilizes this standard without explanation of how it should be modified for application on the Great Lakes. The result is a definition that is doubly vague, because the majority not only fails to explain what kind of “distinct mark” is considered to be so “easily recognizable” that it can be allowed to determine the limits of the public trust, but it also fails to provide any time frame for determining how “continuous” the “presence and action of the water” must be in order to leave such a mark. The majority fails to define either of these terms in a manner that will enable the public or property owners to determine which lands are within the public trust. What kind of “distinct mark” is sufficiently “recognizable” to bring unsubmerged land within the scope of the *737public trust? Since it cannot be that point at which wet sands give way to dry sands — the majority having rejected the position of this dissent — is this “distinct mark” a function of where the waves have deposited seashells? Is it a function of where debris has been washed ashore? Is it a function of where some line of vegetation can be identified? Or is it a function of where sand castles are no longer standing? The majority does not say. Moreover, even if the public or the property owner could discern the relevant “distinct mark,” how would such persons determine how “continuous” the “presence and action of the water” has been— or indeed must be— in leaving such a mark. It cannot be limited to the “current ebb and flow of the waves,” as that too is the position of this dissent which the majority rejects. How continuous then is “continuous”? Is it a month, a season, a year, a century, or an epoch? Again, the majority does not say.
Moreover, the majority would apparently expand public access to private littoral lands even beyond its new definition of the “ordinary high water mark.” The majority states, “ ‘where the bank or shore at any particular place is of such a character that it is impossible or difficult to ascertain where the point of ordinary high-water mark is, recourse may be had to other places on the bank or shore of the same stream or lake to determine whether a given stage of water is above or below ordinary high-water mark.’ ” Ante at 691, quoting Diana Shooting Club, supra at 272 (emphasis added). Does the majority intend by this to say that the public may now cross onto private littoral property in order to determine where the new “ordinary high water mark” lies? If so, the public would seem to have access to such property even beyond the “ordinary high water mark.” The only apparent limitation on the public’s right of access is that the “ordinary high water mark” *738must be “difficult” to ascertain. Given that under the majority’s new definition the “ordinary high water mark” will never be anything other than difficult to ascertain — and, as the majority admits, will generally constitute a “question of fact” ante at 694 — there appears to be considerable potential for access by the public upon private littoral lands even beyond the “ordinary high water mark.” Still, the majority is indisposed to answer any of the questions that are most dispositive in determining where private and public rights begin and end. In eventual course, these questions, so indispensable to the determination of individual property rights, will have to be addressed by the Department of Natural Resources (DNR) with virtually no guidance from this Court.
In leaving such questions to the DNR, the majority adopts the premises of administrative law in the very different realm of property law, by defining critical questions of property rights not in well-understood terms that conduce toward specific boundaries, but in language drawn from the modern administrative process in which vague and empty terms are given meaning by regulatory agencies, such as the DNR, with subsequent deferential review by the courts. This is a prescription for uncertainty, and uncertainty is a prescription for litigation, and the majority with its eyes wide open has chosen to give Michigan both.
Further, the majority’s inclusion of unsubmerged lands within the public trust because “the lake has not permanently receded from that point and may yet again exert its influence up to that point,” ante at 691, conflicts with the traditional common-law definition of the public trust doctrine. At common law, the high water mark was defined as “ ‘the line of the medium *739high tide between the springs and the neaps.[35] All land below that line is more often than not covered at high water, and so may justly be said, in the language of Lord Hale, to be covered by the ordinary flux of the sea.’ ” Borax Consolidated, supra at 25, quoting Attorneu-General v Chambers, 4 De G M &amp; G 206, 217; 43 Eng Rep 486 (1854).36 High tides move with the moon as it revolves around the Earth. At most ocean shores throughout the world, two high tides and two low tides occur every lunar day.37 A typical seaport will alternate between high and low tides about every six hours. Thus, while the ocean bed may be temporarily exposed to the *740open air during low tide, such land will again be submerged during the next high tide. Because the land is continually being affected by the action of the water, it falls within the scope of the English common-law doctrine, even when exposed to open air.
In contrast, tidal forces acting on the Great Lakes are of such a “trifling effect,” Warner, supra at 239, that they cannot even be measured without precise instruments.38 Thus, there is no “high” or “low” water marks, as they are scientifically understood. Instead, lake levels are affected seasonally by the natural operation of the hydrologic cycle, which includes precipitation, evaporation, condensation, and transpiration.39 During the winter, the air above the lakes is cold and dry, compared to the relatively warm temperature of the lake. As a result, the amount of water that evaporates into the air exceeds the water vapor that condenses back into the lakes. Any precipitation that falls on the lands surrounding the lakes is in the solid form of snow, and, thus, is not returned to the lake via runoff. As a result, more water leaves the lake than enters it in this season, resulting in a decline in lake levels.40 As snow begins to melt in the early spring, runoff into the lakes increases. Further, as temperatures increase, the warm, *741moist air above the relatively cold lakes limits evaporation to an amount less than the rate of condensation. As a result, average water levels rise throughout the spring ánd eventually peak during midsummer.41
These natural phenomena suggest the unworkability of placing the public trust boundary at the “ordinary high water mark” as it is defined by the majority. If the “ordinary high water mark” is defined as a static boundary, then the public trust doctrine would include unsubmerged lands that are only covered by the water on an infrequent basis. Under the English common-law definition, such lands should be treated in a manner similar to lands covered by the spring tides, i.e., they are not subject to the public trust doctrine. If the “ordinary high water mark” is defined as a floating boundary, then it becomes nearly impossible for either a beach user or a littoral property owner to determine where the boundary is located. To account for the hydrologic cycle, the “ordinary high water mark” would need to be redefined on a monthly or seasonal basis. Further, the boundary would have to be readjusted on a year-by-year basis to account for long-term changes to lake levels caused by weather fluctuations. Since 1918, the Great Lakes have experienced three periods of extremely low water levels, in the late 1920s, mid-1980s, and mid-1960s. Periods of extreme high water were experienced in the early 1950s, early 1970s, mid-1980s, and mid-1990s. The “point on the bank or shore up to which the presence and action of the water is so continuous as to leave a distinct mark either by erosion, destruction of terrestrial vegetation, or other easily recognized char*742acteristic” in 1926 would have been in a completely different location than the point reached in 1986. Likewise, that point in February of each year would be a completely different location than the same point in July of each year. Thus, any definition of where “the presence and action of the water is so continuous as to leave a distinct mark either by erosion, destruction of terrestrial vegetation, or other easily recognized characteristic” must vary depending on what method is used to calculate that level.42
The majority’s “ordinary high water mark” also fails to account for changes to the location of the waterline caused by events unrelated to lake levels. First, wind and barometric forces can raise water at one end of the lake, causing a dip in water level at the opposite end. If the forces raising the water on one end suddenly cease, the entire lake may move in a see-saw fashion, alternatively rising and falling on each end in a “pendulum-like” movement. This phenomenon, called “seiche,” can last from minutes to hours to days. Second, ice or foreign bodies such as plants may block the normal flow of rivers and channels connected to the Great Lakes, thereby causing an increase or decrease in the water level of connected lakes. Finally, most of the Great Lakes basin is rising, as the Earth’s crust slowly rebounds from the removed weight of the glaciers that covered the area around 14,000 years ago. Because the glaciers were thickest in the northern part of the basin around Lake Superior, this region is rebounding at a faster rate, nearly twenty-one inches a century, than the rest of the basin. As a result, the Great Lakes are *743“tipping” in a way that causes water increasingly to pool in the southern portions of the Great Lakes basin. The shoreline is receding in the northern basin and advancing in the southern basin. Thus, while the “ordinary high water mark” makes sense in tidal waters, it does not make sense in the nontidal Great Lakes because of the irregular nature of lake level fluctuations.
Further, the majority’s new definition fails to account for those times when the waters of the Great Lakes go beyond the “ordinary high water mark,” assuming that such an event could even occur under the majority’s new definition. The majority justifies its new rule, on the basis of this Court’s statement in Peterman, supra at 198, that “ ‘the limit of the public’s right is the ordinary high water mark....’” (Citation omitted.) Ante at 701. However, the majority also states that the public trust doctrine serves to protect “the waters of the Great Lakes and their submerged lands . . . .” Ante at 694. Thus, when the water’s edge is beyond the “ordinary high water mark,” there is a conflict between the majority’s stated limit of the public right to the “ordinary high water mark” and its inclusion of submerged lands within the public trust. Is a property owner or a member of the public to understand that use of submerged lands between the “ordinary high water mark” and the water’s edge is forbidden? Does this mean that a member of the swimming or walking public is trapped within the Great Lakes until the water recedes to the “ordinary high water mark”? How does a member of the public or a property owner determine where the “ordinary high water mark” is in such a circumstance? Does limiting public access to a submerged “ordinary high water mark” conflict with our holding in Warner, supra at 239, that the public trust begins where the water is, “whether the water be deep or shallow”? Or is the *744majority’s reliance on Peterman somehow silently qualified to apply only when water levels on the Great Lakes lie below the “ordinary high water mark”? The majority again does not say.
By contrast, limiting the public’s right of access to the “water’s edge,” i.e., the point at which wet sands give way to dry sands, addresses all of the various forces at work on the lakes and is consistent with the common-law definition of the high water mark. First, the “water’s edge” principle reflects the dynamic natural forces at work on the Great Lakes. As the waters of the Great Lakes move, so too does the area where wet sands give way to dry sands. The littoral property owner’s title, and with it his or her littoral rights, including the right of exclusive possession, follows the movement of the water.43 As we explained in Warner, the littoral property owner’s rights end where the water is “whether the water be deep or shallow, and although it be grown up to aquatic plants, and although it be unfit for navigation.” Warner, supra at 239. At that point, the state’s public trust title begins. Id. As correctly observed by the DNR, the area “where the water is” includes the wet sands where the waters of the Great Lakes have marked their current and continuous presence. Because by definition such sands are infused with water, the wet sands fall within the definition of “submerged lands.” As a result, the “water’s edge” is the point at which wet sands give way to dry sands. The water’s edge marks the boundary *745between submerged and unsubmerged lands.44 This position is consistent with the position of the defendant littoral owners in the instant case. Contrary to plaintiffs expressions of concern that she would be forced to walk in the water, as a member of the public she has always had the right to walk along the wet sands, abutting the Great Lakes. Because the wet sands are submerged lands, a littoral owner has never had the right to prevent a member of the public from using such lands.
While I agree with the DNR’s inclusion of the wet sands as submerged lands, the DNR reaches the same erroneous conclusion as the Court of Appeals, namely that the littoral owner holds title only to the “ordinary high water mark.”45 This interpretation apparently is based on the following passage from Hilt, supra at 226:
The riparian owner has the exclusive use of the bank and shore, and may erect bathing houses and structures thereon for his business or pleasure (45 C.J. p 505; 22 L.R.A. [N.S.] 345; Town of Orange v. Resnick [94 Conn 573, 578; 109 A 864 (1920)]); although it also has been held that he cannot extend structures into the space between low and high-water mark, without consent of the State (Thiesen v. Railway Co, 75 Fla. 28 [78 South. 491; L.R.A. *7461918E, 718]). And it has been held that the public has no right of passage over dry land between low and high-water mark but the exclusive use is in the riparian owner, although the title is in the State. Doemel v Jantz, [supra].
However, this statement from Hilt does not represent a conclusion of this Court. Rather, it is cited as part of this Court’s response to the notion that Kavanaugh “gave the State substantially absolute title... to the upland or to use them for any public purposes.” Id. at 224. In rejecting this theory as a justification for maintaining Kavanaugh, we noted that the “title” conferred to the state in Kavanaugh was confined “to the same trust which applies to the bed of the lake, i.e., that the State has title in its sovereign capacity and only for the preservation of the public rights of navigation, fishing, and hunting.” Id. Thus, “the right of the State to use the bed of the lake, except for the trust purposes, is subordinate to that of the riparian owner ....” Id. at 226, citing Town of Orange, supra at 578. To support this point, Hilt noted that “it has been held that the public has no right of passage over dry land between low and high-water mark but the exclusive use is in the riparian owner, although the title is in the State.” Hilt, supra at 226, citing Doemel.
This demonstrates that Hilt was not adopting the rule from Doemel, but rather was using that case to demonstrate that Kavanaugh did not give unlimited title to the state and, therefore, that the title granted to the state by Kavanaugh was not a valid basis for maintaining the meander line as a boundary. Thus, the only basis for holding that the state holds title to unsubmerged land up to the so-called high water mark is to misunderstand the importance of Hilt’s reference to Doemel. It is clear that when Hilt said that a littoral owner’s title goes to the water’s edge, it meant “water’s *747edge.” Likewise, when Warner said that the state’s title begins where the water is, it meant “where the water is.”
Second, the “water’s edge” principle is consistent with the common-law definition of the high water mark.46 At common law, the area of medium high tide would seldom be dry for more than twenty-four hours at a time. Lorman v Benson, 8 Mich 18, 29 (1860). In other words, the land at or below medium high tide was generally covered by the ocean during the daily tidal cycle. Therefore, this tidal land was considered “waste land” that was “ ‘not capable of ordinary cultivation or occupation.’ ” Id. at 28-29 (citation omitted). Similarly, in the instant case, the wet sands are being inundated with water by the current ebb and flow of the waves. However, when lake levels fluctuate, any land that is no longer subject to the ebb and flow of the waves becomes unsubmerged land, which is suitable for “ordinary occupation” and, therefore, as with lands affected by the spring tides, is not within the scope of thé public trust doctrine.
Finally, the “water’s edge” principle is significantly more workable than the majority’s “ordinary high water mark.” A member of the public can, by simple observation, without the use of “aerial photographs, government survey maps. .. and stereo [three-dimensional] photographs,” ante at 692 n 20, determine *748where he or she is allowed to use land without seeking the littoral owner’s permission.47 When the waters recede, land that is no longer subject to the current ebb and flow of the waves will become unsubmerged land and, therefore, will again be under the exclusive control of the littoral property owner.
In conclusion, as we noted in Warner, supra at 239, although in dictum, the absence of tides “practically makes high and low water mark identical for the purpose of determining boundaries [along the Great Lakes].” The “water’s edge” principle recognizes this reality by defining the rights of both the littoral property owner and the public in terms of the actual location of the water. This definition is consistent with the natural forces at work on the Great Lakes; it is consistent with the common-law scope of the public trust doctrine; it is consistent with historical practice in Michigan; and it creates a public trust area that can readily be identified. The majority has presented no *749reason why this longstanding rule no longer represents a reasonable balance between the competing interests at issue in this case. Yet, the majority discards this clear standard, which has operated for most of the history of our state to create harmonious relations between the public and littoral property owners, and replaces it with an unknowable standard of its own invention that requires littoral property owners and the public to guess where the “ordinary high water mark” is located.
III. MISUNDERSTANDING OF JUS PRIVATUM/JUS PUBLICUM
The majority’s determination to apply what it has defined as the “ordinary high water mark,” despite a lack of foundation in Michigan law, appears to be rooted in its fundamental misunderstanding of the distinction between the jus privatum and jus publicum. The majority notes, correctly, that the title to the submerged lands of navigable waters is bifurcated; with the jus publicum safeguarding the rights to the public and the jus privatum safeguarding private property rights, subject always to the jus publicum. Nedtweg v Wallace, 237 Mich 14, 20; 208 NW 51 (1927). However, rather than limit application of the doctrine to submerged lands, the majority instead holds that any conveyance of lakefront property consists solely of the jus privatum, with the state’s jus publicum title including unsubmerged lands up to the “ordinary high water mark.” I disagree, and instead believe that the jus publicum applies only to the submerged lands of the Great Lakes.
The distinction between jus privatum and jus publicum was first addressed by this Court in Lorman, supra. In Lorman, a former lessee of property abutting the Detroit River claimed that he had a right to use and *750maintain a boom constructed in the water.48 Under the English common law, private title to the bed of a navigable river was determined by whether the river was subject to the ebb and flow of the tides. Lorman, supra at 26-27. However, regardless of who held the jus privatum, the private owner’s rights were limited to those uses that would not interfere with “the public easement of navigation[.]” Id. at 27. In tidal rivers, the jus privatum was subject to the public’s “right of navigation over the whole bed of the stream at high tide, and over the water, so far as it was practicable, at all tides.” Id. at 27-28. However, the public’s rights too were not without limit. First, the public’s rights did not extend to land “not commonly submerged by the average ordinary high tides, which would seldom leave any of the shore dry more than twenty-four hours at a time.” Id. at 29. Second, the public’s use of the jus publicum was limited to “water rights,” i.e., the right of navigation and fishing. Id. at 30. No matter who held title to the river bed, the public’s right to use the river was always limited to the water itself. Because the former lessee sought to use the Detroit River for purposes other than navigation or fishing, the Court determined that the former lessee’s use was not superior to that of the riparian owner and, therefore, the riparian owner could bring an action for trespass.
The limitation of the jus publicum to use of the water itself was also expressed by this Court in McMorran Milling Co v C H Little Co, 201 Mich 301; 167 NW 990 (1918).49 In McMorran Milling, a dredger entered into a *751contract with the riparian owner for the right to remove sand from the river bed. The federal government, concerned that such dredging would adversely affect navigation, ordered the dredger to cease operation. After the dredger complied with this order, the riparian owner brought suit demanding the dredger continue to pay for the right to remove sand. This Court began its analysis by noting that the riparian owner “holds the naked legal title [the jus privatum], and with it he takes such proprietary rights as are consistent with the public right of navigation [the jus publicum], and the control of congress over that right.” Id. at 314 (citation omitted). Thus, the riparian owner’s title is “ ‘held at all times subordinate to such use of the submerged lands and of the waters flowing over them as may be consistent with or demanded by the public right of navigation.’ ” Id. at 310 (emphasis added; citation omitted). The Court concluded that the dredger was evicted from the river bed by the government, which on the basis of its right to protect navigation had superior title over the riparian owner. Therefore, the riparian owner was not entitled to further payment after the date of eviction. Id. at 318.
Unlike rivers and inland lakes, the state holds both the jus privatum and jus publicum title to the submerged lands of the Great Lakes. Nedtweg, supra. In Nedtweg, the state sought to lease several thousand acres of relicted land abutting Lake St. Clair that were *752considered submerged in law.50 In order to do so, the Legislature passed legislation authorizing long-term leases of such land to private individuals. The Department of Conservation refused to enter into such leases, arguing that the submerged-in-law land was held in trust for the public and could not be conveyed. We noted that the title to submerged land is bifurcated between the jus publicum and the jus privatum. Nedtweg, supra at 17.
The State may not, by grant, surrender such public rights any more than it can abdicate the police power or other essential power of government. But this does not mean that the State must, at all times, remain the proprietor of, as well as the sovereign over, the soil underlying navigable waters. [Id.]
In other words, the state may convey the jus privatum in submerged Great Lakes land, as long as that conveyance does not interfere with the public’s “rights of navigation, hunting and fishing.” Id. at 18. The Court noted that, because the land in question was now dry land, it was no longer suited for the purposes protected by the jus publicum. Id. at 22. In other words, contrary to the majority’s understanding, while the “submerged” lands in question were still part of the public trust, the lease was permissible because there was no interference with the uses protected by the public trust doctrine.51
To summarize, under the common law as it has developed in Michigan, the jus privatum is held by either the adjoining property owner (in the case of rivers or iriland lakes), or by the state itself (in the case of the Great Lakes). In either case, the jus privatum *753title is held subject to the public’s rights under the jus publicum. However, the public’s jus publicum rights are limited to use of the waters themselves. Lorman, supra; McMorran Milling, supra. Further, the jus publicum only protects the public’s right to use private property for specific purposes, such as navigation, fishing, and hunting. Nedtweg, supra. There are no cases that support the majority’s view that the jus publicum extends beyond the water’s themselves to include unsubmerged land. Lorman, supra at 29. On the Great Lakes, the overlap between jus privatum and jus publicum would only come into play when the Legislature conveyed a portion of the submerged lands to a third party. Because, as argued previously, the littoral owner’s title never extends past the wet sands, unsubmerged land between the wet sands and the “ordinary high water mark” is simply not, and has never been, part of the jus publicum.
IV QUESTIONS RAISED BY MAJORITY OPINION
Questions directly raised by the majority’s departure from the longstanding status quo in our state include the following:52
*754(1) Are there property tax consequences to the fact that the exclusive rights of littoral property owners would now extend not to the water’s edge, but only to the “ordinary high water mark”?
(2) Given that the majority has expanded the lands subject to the public trust doctrine, will there be a corresponding expansion of uses that are considered “inherent in the exercise of traditional public trust uses”? That is, given that the public trust now encompasses dry land up to at least the “ordinary high water mark,” are there new uses of these lands that arguably can be connected to traditional public trust uses?
(3) Given that there are always more members of the public who may wish to use a property in a particular manner than there are property owners, what permanent protections exist to ensure that the Department of Natural Resources, as a political institution, will not seize upon the vagueness and lack of definition of the majority opinion increasingly to broaden the “public trust” at the expense of littoral property rights?
(4) What are the implications of the majority’s opinion for the rights of other littoral property owners on lakes other than the Great Lakes, whose properties also afford access to recreational opportunities for the public?
(5) Given the majority’s conclusion that “the public trust doctrine serves to protect resources,” what are the implications of the majority’s opinion for the rights of non-littoral property owners, whose properties abut or have an impact upon state lands used by the public for recreational purposes?
*755Y CONCLUSION
I would not alter the longstanding status quo in Michigan, and I, therefore, dissent. The majority has altered this status quo by: (1) redefining the lands subject to the public trust doctrine on the basis of Wisconsin’s definition of the “ordinary high water mark”; and (2) holding for the first time that the use of unsubmerged lands is permitted by the public trust doctrine.
The majority fails to identify any defects in the present rules of this state, rules that have endured since statehood, that would justify its departure from the “water’s edge” principle in favor of unclear rules of its own design. The present rules have created a reasonable and harmonious balance between the rights of the public and the rights of littoral property owners. Under these rules, the littoral owner’s title follows the shoreline, i.e., where the wet sands give way to the dry sands, wherever this may be from time to time. Because the boundary is dependent on the natural condition of the Great Lakes, it is easily identifiable, thus, creating a practical and workable rule. The public’s legal right to use private property along the shores of the Great Lakes should remain, as it has always been, within this realm.
The critical flaw in the majority’s decision making is that it creates new law, not on the basis of the millions of amicable interactions that occur each year between the public and lakefront property owners, but instead on the basis of the single aberrational dispute in this case. In the place of a stable and well-understood law that has worked well for more than a century and a half to define the rights of the public and littoral property owners and to minimize litigation, the majority, in reaction to the present dispute, finds it necessary to *756introduce a range of novel concepts into Michigan property law. Apart from lacking any basis in present Michigan law, these concepts are essentially undecipherable. Thus, in an area of the law in which stability and clarity are paramount, the majority offers rules that are obscure and that will be subject to evolving definition by environmental regulatory agencies. Almost certainly, these new rules, in conjunction with the majority’s disinclination to define the critical aspects of these rules, will lead to an escalation in the number of disputes between members of the public and property owners along the Great Lakes. In the place of harmony, there will be litigation.53 In the place of unobstructed beachfront, there will be fences. Five hundred cases from now, and after the expenditure of enormous litigation costs and legal resources, Michigan, if it is fortunate, will once again reach the state of equilibrium that it enjoys today and that it has enjoyed for many decades under current law.
*757I would affirm the result of the Court of Appeals, reverse that portion of the Court of Appeals opinion giving the state title to land below the “ordinary high water mark,” and reaffirm the longstanding principle of Hilt that the littoral property owner’s title extends to unsubmerged land and the public’s legal rights under the public trust doctrine extend to the submerged lands, including the wet sands.54

 Although, quite remarkably, the majority purports that it “retains and clarifies the status quo,” ante at 699, there is not a scintilla of support for the proposition that Wisconsin law has ever been the law of Michigan, not a single Michigan case referencing the majority’s new test, and not a paragraph of argument in any of the briefs of plaintiffs, defendants, or amici identifying Wisconsin law as the law of Michigan.


 The majority fails to recognize why its new rules are a prescription for fences. It is, of course, true that a lakefront property owner “could always erect a fence,” as the majority observes. Ante at 699 n 28. However, fences have not heretofore generally been thought necessary. Under current law, which I would not alter, members of the public and lakefront property owners have long coexisted in reasonable harmony. It is the majority’s actions today in departing from our precedents and creating new and vague law that will almost certainly transform this relationship and cause at least some property owners to believe that they must erect fences in order to protect boundaries that now have been called into question and that apparently will be subject to definition by the Department of Natural Resources.


 Plaintiff argues that use of the term “ ‘water’s edge’ [in Hilt v Weber, 252 Mich 198; 233 NW 159 (1930)] is consistent with the nomenclature of many other state and federal cases using ‘water’s edge’ to mean ‘high water mark.’ ” Plaintiffs brief at 24. See, also, amicus brief of the Tip of the Mitt Watershed Council at 18; amicus brief of the Michigan Senate Democratic Caucus at 2; amicus brief of the Michigan Land Use Institute at 10; and amici brief of the Michigan Departments of Environmental Quality and Natural Resources at 11. Defendants argue that the status quo gives the littoral owner “exclusive use of the beachfront to the water’s edge as it exists from time to time.” Defendants’ brief at 13. See, also, amici brief of the Michigan Chamber of Commerce, National Federation of Independent Business Legal Foundation, Michigan Bankers Association, and Michigan Hotel, Motel &amp; Resort Association at 11 (“The relevant Michigan authorities thus compel the conclusion that the public trust applies only to submerged lands when they are actually submerged”); amici brief of the Save our Shoreline and the Great Lakes *712Coalition, Inc at 9 (“[t]hat the water’s edge was the boundary between public and [littoral] ownership was first suggested in [La Plaisance]”); amici brief of the legislators at 4 (arguing that numerous Michigan cases establish that littoral owners “have title to their property to the water’s edge, free of any public trust interest in the submerged lands of the Great Lakes”); and amicus brief of the Defenders of Property Rights at 12 (noting that in the past sixty-four years, this Court has rejected any attempt to expand public rights to areas landward of the water’s edge).


 As noted by the majority, “[o]ur case law has not always precisely distinguished” between the terms “littoral” and “riparian.” Ante at 672 n 1. The former applies to oceans, seas, the Great Lakes, and their coasts, while the latter applies to rivers and streams. Black’s Law Dictionary (7th ed). Unfortunately, the misuse of these terms appears at times to have led this Court to misapply aspects of the public trust doctrine as they relate to rivers and streams as if those aspects also related to the Great Lakes. See, e.g., Peterman v Dep’t of Natural Resources, 446 Mich 177, 195; 521 NW2d 499 (1994). I will use the term “littoral” when discussing property abutting the Great Lakes.


 In particular, the consequences of the majority’s new rules are uncertain for those in the tourism industry in Michigan who have invested in reliance on the rule set forth in Hilt. The majority, in using the “ordinary high water mark” as “defined” under Wisconsin law, has opened to public use unsubmerged lands up to a wholly unspecified point landward of the water and this change would seem to have implications for the ability of at least some Great Lakes tourists to enjoy the type of tranquil retreat offered by private beaches within Michigan. See, generally, the amici brief of the Michigan Chamber of Commerce, National Federation of Independent Business Legal Foundation, Michigan Bankers Association, and Michigan Hotel, Motel &amp; Resort Association.


 Kavanaugh v Rabior, 222 Mich 68; 192 NW 623 (1923), and Kavanaugh v Baird, 241 Mich 240; 217 NW 2 (1928).


 Hilt, supra at 204-205.


 Baird, supra at 252.


 In Ainsworth v Munoskong Hunting &amp; Fishing Club, 159 Mich 61, 64; 123 NW 802 (1909), we stated that “[littoral] owners along the Great Lakes own only to the meander line ... .” Later, however, in Hilt, supra at 207, we noted that in Ainsworth, the meander line and water’s edge were the same on the bay in question.


 The majority also creates a new rhetorical formulation for the test determining whether a use is permitted by the public trust doctrine, although I fail to see any significant distinction between a use that is “inherent in the exercise of traditionally protected public rights,” ante at 695, and a use that bears “a real and substantial relation to a paramount trust purpose.” Hilt, supra at 225. I agree with the majority that beach-walking is a permissible public trust use. Walking in submerged *716lands is an activity that hears a “necessary and substantial relation” to other water-borne recreational activities protected by the doctrine, e.g., boating, swimming, and fishing.


 Curiously, the majority adopts Wisconsin law in this area, despite the fact that Wisconsin’s 820 miles of Great Lakes shoreline is dwarfed by the 3,288 miles of shoreline in this state. &lt;http://www. michigan.gov/deq/0,1607,7-135-3313_3677-15959~,00.html&gt; (accessed June 24, 2005). Nonetheless, the critical point is not whether it is the law of a state with a longer or shorter shoreline than Michigan’s that has been adopted by the majority. Rather, it is why any new law has been adopted when current law has proven workable for many decades of our state— clearly setting forth the rights of the public and the property owner, minimizing litigation, and simultaneously protecting private property rights while allowing reasonable public use of the Great Lakes, including beach-walking.


 The majority also notes that in Illinois Central R Co v Chicago, 176 US 646, 660; 20 S Ct 509; 44 L Ed 622 (1900) {Illinois Central II), the United States Supreme Court found that “a grant of lands by the State does not pass title to submerged lands below high-water mark ... However, as stated in Shively, the scope of lands subject to the public trust is determined by state law. In determining the scope of the trust doctrine in Illinois Central II, the United States Supreme Court looked to “the law of the State of Illinois, as laid down by the Supreme Court....” Id. at 659. In finding that Illinois’s title went to the high water mark, the point emphasized by the majority, the United States Supreme Court cited Illinois case law directly. Id. at 660, citing Seaman v Smith, 24 Ill 521 (1860), People ex rel Attorney General v Kirk, 162 Ill 138, 146; 45 NE 830 (1896), and Revell v People, 177 Ill 468, 479; 52 NE 1052 (1898). Because Illinois Central II applied Illinois law, its holding regarding the scope of *718lands subject to the public trust doctrine is not binding on this Court. Rather, the common law as developed in this state determines the scope of lands subject to the doctrine.


 Those states are: Massachusetts, Shively, supra at 18-19 (littoral owner takes title in fee to the low water mark “subject to the public rights of navigation and fishery”); New Hampshire, id. at 20 (“a right in the shore has been recognized to belong to the owner of the adjoining upland”); Pennsylvania, id. at 23 (“the owner of lands bounded by navigable water has the title in the soil between high and low water mark, subject to the public right of navigation”); and Virginia, id. at 24-25 (“the owner of land bounded by tide waters has the title to ordinary low water mark, and the right to build wharves, provided they do not obstruct navigation”).


 As noted by the majority, ante at 701 n 31, Massachusetts adopted the low water mark by colonial ordinance. Alger, supra at 66. Thus, while obviously not directly applicable to the public trust doctrine in Michigan, Alger does make clear that the “ordinary high water mark” has not been as universally accepted as the majority apparently believes.


 In light of the majority’s reliance on Wisconsin law, it is interesting to note that the Wisconsin Supreme Court similarly held that the public’s right to use submerged lands up to the high water mark is only applicable when the waters actually extend to such mark. Doemel v Jantz, 180 Wis 225, 236; 193 NW 393 (1923).


 The majority claims that when read “in context,” Warner does not recognize “a single boundary between the riparian owner’s title and state control... .” Ante at 688 n 16. Specifically, the “context” relied upon by the majority is Warner’s distinction between the state’s and the public’s interests in submerged lands. However, there is no context under which Warner can reasonably be read to support the majority’s new rule of law. The passage cited by the majority comes directly after this Court’s holding that the state holds title to all submerged lands, regardless of navigability. In justifying the state’s title to lands “unfit for navigation,” *723Warner notes that the public has interests in those submerged lands above and beyond a navigational interest, i.e., “the right to pursue and take fish and -wild fowl.. ..” Further, in an opinion-replete with novel concepts of law, perhaps the most creative statement by the majority is that somehow the phrase “[t]he adjoining proprietor’s fee stops there [i.e., where the water is], and there that of the State begins” does not represent a single boundary. If the state’s title begins at the point where the adjoining proprietor’s title ends, there can only be one boundary and, therefore, there cannot be an overlapping of titles as suggested by the majority. Accordingly, and despite the majority’s claims to the contrary, this Court has explicitly “enshrined” a solitary boundary between littoral lands and public trust lands for at least 107 years.


 Justice Hooker’s analysis of the public trust doctrine was subsequently cited with approval by the unanimous opinion of this Court in State v Venice of America Land Co, 160 Mich 680, 702; 125 NW 770 (1910).


 Hilt also noted that to hold otherwise would effectively cut the littoral owner off from the water, thereby destroying the very characteristic that defines property as “littoral”— its contact with the water. Hilt, supra at 219.


 The majority misstates my position as “granting littoral landowners all property down to where unsubmerged land ends, which [I] locatef] at the water’s edge, regardless of the terms of landowners’ deeds.” Ante at 699-700. There is no basis for this statement. The characteristic that defines property as “littoral” is its contact with the water. Hilt, supra at 219. In other words, a property owner whose deed does not extend to the water’s edge is not a littoral owner and, therefore, would have no more rights in unsubmerged property than any other member of the public. Obviously, a property owner is only a littoral owner if the deed gives title to the water’s edge, however the “water’s edge” may be described. For example, in the instant case, defendants’ deed states that the “meander line of Lake Huron” forms part of the boundary of their property. As we held in Farabaugh v Rhode, 305 Mich 234, 242; 9 NW2d 562 (1943), “the meander line of Lake Michigan is a line of description and not one of boundary and that one owning to such meander line owns to the water’s edge subject to accretion and reliction unless a contrary intention is expressed in the conveyance.” There is no evidence of a contrary intention in this case and, therefore, defendants hold title to the water’s edge.


 The majority notes that this Court has identified “some ambiguity regarding whether the high or low water mark serves as the boundary of the public trust.” Ante at 687, citing People, ex rel Director of Conservation v Broedell, 365 Mich 201, 205-206; 112 NW2d 517 (1961). Broedell cited two cases with “language seemingly favorable to the high-watermark theory” Id. at 206. One of those cases, Collins v Gerhardt, 237 Mich 38; 211 NW 115 (1926), defined the public trust doctrine as it applies to rivers. The other case, Venice of America Land Co, supra at 702, discussed the location of a certain island at the time of statehood. If the island was completely submerged at statehood and only afterwards arose out of Lake St. Clair, then the island belonged to the state. See, e.g., Warner, supra. The Court noted that, during periods of high water, the island at issue was completely submerged. According to the Court, Lake St. Clair experienced one such period of high water in 1837-1838. Therefore, because the island was submerged land at the time of statehood and only arose out of the water afterwards, title to such property was in the state. *726Id. Further, Venice of America Land Co expressly adopted Justice Hooker’s concurring opinion from Fishing &amp; Shooting Club. As argued earlier, Justice Hooker found that the boundary between a littoral owner’s property and property held by the state in trust is the low water mark, at least at times of low water.


 The majority has interpreted the “water’s edge” principle as creating a “universal line along the Great Lakes ....” Ante at 0. However, the water’s edge is not a “universal line,” but rather a dynamic boundary that moves as the waters of the Great Lakes move.


 Even if Peterman did apply in the public trust context— which it does not— an examination of its holding indicates a definition of the public trust doctrine far more in line with “low water mark” cases such as Alger than with the “high water mark” cases cited by the majority.


 The majority argues that this decision “relied not simply on a ‘navigational servitude’ unique to that case, but rooted that ‘navigational servitude’ in the public trust doctrine.” Ante at 649-650 n 15. However, Peterman specifically states that “plaintiffs’ [littoral] rights are subject to the navigational servitude retained by the State of Michigan.” Peterman, supra at 193-194. Peterman does not state that littoral rights are subordinate to the right to fish and hunt or the right to walk. Rather, the Court limited its holding to the state’s right to improve navigation.


 The federal government also retains a navigational servitude on the Great Lakes and the lands beneath them.


 We have recognized fishing as an incident of the navigational servitude in inland rivers and lakes. Collins, supra at 48-49. In Collins, we noted that the right to fish was limited to the stream itself and that “in exercising this right people cannot go upon the uplands of riparian owners in order to gain access to the water. If they do that they are guilty of trespass.” Id. at 49. See also Bott, supra at 64-65, in which the servitude was further limited.


 We adopted the definition of “ordinary high water mark” from the Inland Lakes and Streams Acf, former MCL 281.952(h). Peterman, supra at 198 n 29. That statute defined the mark as,
the line between upland and bottomland which persists through successive changes in water levels, below which the presence and action of the water is so common or recurrent that the character of the land is marked distinctly from the upland and is apparent in the soil itself, the configuration of the surface of the soil, and the vegetation.


 “Fast land” is “property that is ‘above the high-water mark of the stream, river, or other body of water that abuts the property.” Peterman, supra at 181 n 4, quoting 26 Am Jur 2d, Eminent Domain, § 192, p 873.


 The plaintiffs’ recovery in Peterman was not limited to compensation for the damage done to the fast lands. We also concluded:
While generally the navigational trust permits the state to improve waterways without compensating for nonfast lands, the trust does not grant blanket authority to destroy private property— the loss of the property must be necessary or possess an essential nexus to the navigational improvement in question. In the instant case, no essential nexus existed between the construction of the boat launch and the utter destruction of plaintiffs’ beach. The taking of the property served no public interest because the ramp could have been built without destroying plaintiffs’ property. Thus, we affirm the trial court’s award of damages for the loss of plaintiffs’ property [i.e., the property below the “ordinary high water mark”]. [Id. at 201-202.]


 The majority concludes that the boundary of the public trust doctrine is the “ordinary high water mark” because the “lake has not permanently receded from that point and may yet again assert its influence up to that point.” Ante at 691. Does the majority mean that the public has access to a littoral owner’s property that, although currently dry, has been wet at some point in the past and may again be wet some day in the future? If so, what is the relevant time frame to determine if *731the water has permanently receded or not? Is it a day? Or a month? Or a year? Or a decade? Or since statehood? Or since the retreat of the glaciers 14,000 years ago? The majority does not say. Further, how is a member of the public or a property owner to ascertain whether lands in question “may yet again” become submerged? Again, the majority does not say.


 While the Diana Shooting Club definition has been used by Wisconsin for nearly one hundred years, the initial express definition of the water’s edge principle in Warner predates the Diana Shooting Club rule by sixteen years.


 Doemel addressed the public trust doctrine as it applied to inland lakes. Interestingly, while the majority claims that a case applying the public trust to rivers is perfectly legitimate to apply in the littoral context, it concludes that Doemel is inapplicable, presumably because it applies to an inland lake.


 The majority observes that its new definition was also invoked in a footnote by the Wisconsin Supreme Court in R W Docks &amp; Slips v State, 244 Wis 2d 497, 510 n 2; 628 NW2d 781 (2001) (citing Trudeau, supra, for the definition). Ante at 692. However, the R W Docks case involved a claimed regulatory taking, based on Wisconsin’s refusal to issue a dredging permit. The location of the ordinary high water mark was not at issue and the case did not involve a question of public access to land within the public trust. Thus, the majority apparently is basing its new rule on mere dictum from the decision of another state’s Supreme Court.


 The majority, apparently recognizing the vagueness of its definition of the “ordinary high water mark,” observes, “the precise location of the ordinary high water mark at any given site on the shores of our Great Lakes remains a question of fact.” Ante at 694. While the majority again cites Trudeau as an example of how such a “question of fact” can be answered, ante at 692 n 20, it neglects to note that Trudeau adopted the International Great Lakes Datum (IGLD) definition of ordinary high water mark. Trudeau, supra at 110. However, the majority has held that the Great Lakes Submerged Lands Act (GLSLA), which also uses that datum, is not dispositive in defining the landward boundary of the public trust. Ante at 681-685. Does the majority mean to suggest that, despite this Court’s holding that the GLSLA is not dispositive, the IGLD is still relevant in determining the location of the ordinary high water mark for public trust purposes in this state? The majority does not say.


 The majority observes that the Diana Shooting Club definition is not “far removed from meanings previously recognized in Michigan.” Ante at 692. In support, the majority cites MCL 324.30101®, a part of the current version of the former Inland Lakes and Streams Act. However, the majority fails to acknowledge that this statute expressly states that it does not apply to the Great Lakes. MCL 324.30101(f). I also assume that the majority in characterizing its definition as “not far removed” from another definition— that which, in fact, has been the law of Michigan— is acknowledging, albeit euphemistically, that it is adopting a new rule. The majority alternates between the adoption of new rules and disclaiming that it has adopted such new rules.


 The “spring tide” is defined as “the large rise and fall of the tide at or soon after the new or full moon.” The “neap” tide is defined as “those tides, midway between spring tides, that attain the least height.” Random House Webster’s College Dictionary (1997).


 The majority asserts that I offer this as an “authoritative definition for ordinary high water mark” and that somehow there is a tension between this definition and my criticism of the majority’s creation of new law in this case. Ante at 701 n 33. That the majority does not recognize the English common-law definition of the ordinary high water mark is not surprising given that its novel definitions of the term hear no resemblance. According to the majority:
[The] ebb and flow, thus reaching one point on the shore at low tide and reaching a more landward point at high tide. The latter constitutes the high water mark on a tidal shore. The land between this mark and the low water mark is submerged on a regular basis, and so remains subject to the public trust doctrine as “submerged land.” \Ante at 686 (emphasis added).]
Thus, it appears that the majority takes the position that the public trust extends to the highest high tide. However, as noted in Borax Consolidated, the ordinary high water mark is not the highest high tide, but rather the medium high tide between the spring and neaps, which is rarely exposed to the open air for more than twenty-four hours.


 A lunar day is the time it takes for the moon to return to a point above the Earth: approximately twenty-four hours and fifty minutes. See definition of “day, lunar” at &lt;http://www.ngs.noaa.gov/CORSProxy/cocoon/glossary/xml/D.xml&gt; (accessed June 24, 2005).


 According to the National Oceanic and Atmospheric Administration, spring tide in the Great Lakes is less than 2 inches (5 cm) in height. See &lt;http://co-ops.nos.noaa.gov/faq2.html&gt; (accessed June 24, 2005).


 See, generally, United States Army Corps of Engineers and the Great Lakes Commission, Living with the Lakes (1999), pp 13-18. This publication may be accessed at &lt;http://www.glc.org/hving/&gt; (accessed June 24, 2005).


 According to the United States Army Corps of Engineers, the lowest average lake level from 1918 to 2003 occurred as follows: Lake Superior (March, 601.21 feet above sea level); Lakes Michigan and Huron (February, 578.48 feet above sea level); Lake St. Clair (February, 573.43 feet above sea level); and Lake Erie (February, 570.8 feet above sea level). See &lt;http://www.lre.usace.army.mil/greatlakes/hh/greatlakeswaterlevels/historicdata/bngtermaveragemin-maxwaterlevels/&gt; (accessed June 24, 2005).


 According to the United States Army Corps of Engineers, the highest average lake level from 1918 to 2003 occurred as follows: Lake Superior (September, 602.23 feet above sea level); Lakes Michigan and Huron (July, 579.43 feet above sea level); Lake St. Clair (July, 574.77 feet above sea level); Lake Erie (June, 571.95 feet above sea level). Id.


 For example, on Lake Huron, the average yearly level of the lake in 2003 was 577.07 feet above sea level. The average yearly level of the lake from 1918 to 2003 was 578.94 feet above sea level. The monthly average for June 2003 was 577.43 feet above sea level. The monthly average for the month of June, from 1918 to 2003, was 579.33 feet above sea level.


 However, as noted in Peterman, supra at 193-198, the littoral owner’s rights are subject to regulation by the state. See e.g., MCL 324.32503 (prohibiting filling or altering land below the statutorily defined high water mark without a permit), MCL 324.32512 (prohibiting certain acts of waterway maintenance without a permit), and MCL 324.32512a (prohibiting mowing or removing vegetation except as permitted by the DNR).


 The majority claims that I would “grant an exclusive right of possession to littoral landowners ... down to where unsubmerged land ends, which [I] locate at the water’s edge... .” Ante at 699. A significantly more precise statement of my position is that the littoral landowner has the right of exclusive possession to unsubmerged land, while the public has the right to use submerged land under the public trust doctrine. The water’s edge, i.e., where the wet sands give way to dry sands, where submerged land meets unsubmerged land, marks the limit of each of these rights.


 The DNR’s position is consistent with the Attorney General’s opinion in 1978 noting that title to property between the high water mark and the water’s edge remains in the state, but the right of exclusive use remains in the littoral owner. OAG, 1977-1978, No 5,327, p 518 (July 6, 1978).


 Although I do not agree that the “wet sands area” as it applies to the public trust doctrine is equivalent to the “ordinary high water mark” as it applies to the navigational servitude, at least one commentator has observed that the “wet beach” is the area “between ordinary high watermark and ordinary low watermark.” Pratt, The legal rights of the public in the foreshores of the Great Lakes, 10 Mich Real Prop Rev 237, 237 (1983). According to this commentator, the “high water mark” and the “water’s edge” are, for all practical purposes, the same in the nontidal Great Lakes.


 The majority claims that the “water’s edge” principle provides no greater “clarity” than its new rule and that the “water’s edge” standard constitutes a “charade of clarity.” Ante at 702. The reader might wish to ponder this assertion. On the one hand, the traditional standard for delineating between public and private lands— the standard that I would retain— requires merely that a person be able to distinguish between wetness and dryness, between wet sands and dry sands, between where there is water and where there is not. Even a Supreme Court justice, I would submit, should be reasonably able to draw such distinctions. Contrast this to the majority’s test that would require a person to locate “the point on the bank or shore up to which the presence and action of the water is so continuous as to leave a distinct mark either by erosion, destruction of terrestrial vegetation, or other easily recognized characteristic.” The majority does not even attempt to offer guidance to the public or property owners as to the meaning of this standard. Rather, the majority suggests that expert witnesses will be able to identify this mark by using “aerial photographs ..., the government survey maps, the site’s present configuration, and stereo [three-dimensional] photographs ... .” Ante at 692 n 20.


 A “boom” is defined as “a chain, cable, etc., serving to obstruct navigation.” Random House Webster’s College Dictionary (1997).


 The majority cites Justice Campbell’s dissenting opinion in Sterling v Jackson, 69 Mich 488, 506-507; 37 NW 845 (1888), in support of its jus privatum/jus publicum analysis. Ante at 679. The Sterling majority observed that title to the river bed belongs to the riparian owner, but that *751such title is limited by the public’s right of navigation. Sterling, supra at 500. However, the public’s rights in that case were limited to “using the waters of the bay for the purpose of a public highway in the navigation of [the defendant’s] boat over it....” Id. at 501. Aside from the right of navigation, all other uses of the river bed belonged exclusively to the riparian owner. Id. In other words, the riparian owner’s jus privatum was limited only by the uses expressly allowed under they us publicum, i.e., the right of navigation. Id.


 Nedtweg was decided during the reign of the Kavanaugh cases.


 The majority claims that the lands at issue in Nedtweg were “set[] apart from the public trust.” Ante at 691.


 The majority maintains that this case “raises none of the questions that [this dissent] poses,” while, of course, choosing to answer none of these questions. Ante at 703. The majority is mistaken if it believes that it can replace settled law in Michigan with a selective part of the law of another state— indeed the least clear part of that other state’s law— and create a new legal relationship between littoral property owners and the public, all the while avoiding giving rise to new legal questions and generating litigation. Each of the questions set forth in this section, as. well as a great many more that neither I nor the majority can anticipate, will be introduced into the legal system as a direct result of the majority’s opinion. This opinion will be subject to cryptanalysis for many years to come and will produce litigation and dispute where up to now there has been none. Perhaps equally troubling, when clarity in the law is once again established in the area of littoral property rights — many years *754from now, and only after what is likely to be an unnecessary period of fractiousness and contention — it will likely come as a function of administrative determinations of private property rights.


 In the end, it will not be surprising if the day-to-day rights of the public even to beach-walk — the ostensible triggering concern of this case — were to be diminished by the majority’s decision. For, in the place of a rule in which property rights are clearly defined and protected, and in the place of a regime in which most littoral property owners have easily accommodated the public’s interest in activities such as beach-walking, the majority creates a far more uncertain rule, one in which properly rights have become more ambiguous and uncertain, and more subject to political regulation and definition. Just as some members of the public are likely to become more assertive in their claim of a “right” to use the property of another, so too will some property owners become more assertive in purporting to “defend” their properties from the encroachments of such persons. At least some of these owners can be expected to assert their property rights in circumstances where today this has been thought unnecessary. It may well be that a legacy of the majority opinion is the proliferation of fences along the beaches of the Great Lakes. Fences and more fences. As a result of the majority’s decision to replace clearly understood and longstanding rules of private property rights with new rules in which the public trust is to be expanded in an uncertain manner, the rights of both the public and the property owner will likely become less well protected.


 Because I agree with the majority that the GLSLA does not establish the boundaries of the public trust, I concur in part 11(A) of the majority opinion.

